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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    MOKEY MOSE,                                  Case No. 2:20-cv-10158-CAS-KES
12                 Petitioner,
13          v.                                   ORDER ACCEPTING REPORT AND
                                                   RECOMMENDATION OF U.S.
14    UNITED STATES OF AMERICA,                       MAGISTRATE JUDGE
15                 Respondent.
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18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition (Dkt. 1), the
19   other records on file herein, and the Report and Recommendation of the U.S.
20   Magistrate Judge (Dkt. 4). No objections to the Report and Recommendation were
21   filed, and the deadline for filing such objections has passed. The Court accepts the
22   report, findings, and recommendations of the Magistrate Judge.
23         IT IS THEREFORE ORDERED that Judgment be entered dismissing
24   Ground One with prejudice, and dismissing Ground Two without prejudice to
25   Petitioner raising the claim in a civil rights action under 42 U.S.C. § 1983.
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     DATED: January 8, 2021                 ___                _______________
27                                          CHRISTINA A. SNYDER
28                                          UNITED STATES DISTRICT JUDGE
